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    Dealer Renewal Services
    3300 S. Dixie Hwy.
    #1-142
    West Palm Beach, FL 33405
    (800) 794-9104


   Dianna Mey



   Congratulations! Your valuable mechanical breakdown protection is detailed in
   the enclosed contract booklet. Please look it over and call with any questions
   you may have. Thank you for your purchase; we look forward to servicing your
   protection needs. Please call us for a quote on any other vehicle in your
   household. Vehicles with fewer than 200,000 miles may qualify for additional
   coverage, and multi-vehicle discounts are available.

   Be sure to familiarize yourself with the coverage, maintenance requirements, and
   procedures in the event of a mechanical breakdown. Proper maintenance of
   your vehicle will contribute to a trouble free driving experience. You should
   follow your vehicle manufacturer’s recommended maintenance for your driving
   habits.

   Welcome to our family of vehicle owners that have the peace of mind and
   financial security of mechanical breakdown protection.

    THANK YOU AGAIN!                        IMPORTANT CONTACT NUMBERS:

                                            Claims: (833) 228-1900
    Your Protection Specialist
                                            Roadside: (844) 286-4487
   ------------------------------------------------------------------------------------------

   We encourage you to store your new service agreement in your
   vehicle. This document contains important numbers needed in
   the event of a breakdown. We have also provided ID cards on
   the last page of this booklet with valuable information that can
   be used in the event of a breakdown.
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                                                                                            CONTRACT NUMBER
                                                                                            ERENEX3020131

                                       EXCLUSIONARY DELUXE SERVICE CONTRACT
                                                         PURCHASER INFORMATION
      PURCHASER NAME                                             AREA CODE AND TELEPHONE NUMBER
      Dianna Mey
      STREET ADDRESS                                                    CITY, STATE, AND ZIP CODE
                                                                        Wheeling, WV 26003
                                                            VEHICLE INFORMATION
      VEHICLE IDENTIFICATION NUMBER (VIN)                               VEHICLE ODOMETER READING AT TIME OF CONTRACT SALE
                                                                        83,891
      YEAR, MAKE, AND MODEL                                                                      RATE CLASS
      2011, VOLKSWAGEN, JETTA                                                                    11
                                         SELLING COMPANY AND FINANCE COMPANY INFORMATION
      SELLING COMPANY NAME                        SELLING COMPANY ADDRESS                        SELLING COMPANY TELEPHONE
      Dealer Renewal Services                     3300 S. Dixie Hwy. #1-142                      NUMBER
                                                                                                 (800) 794-9104
      FINANCE COMPANY                             FINANCE COMPANY ADDRESS
      Mepco Finance Corporation                   205 North Michigan Ave Suite 2200
                                                                     OBLIGOR
       Obligor in Certain States. The following entities will serve as the OBLIGOR of the Service Agreements in the following states.
       MATRIX FINANCIAL SERVICES, LLC in the following states: AL, AK, AR, CO, CT, DE, GA, HI, ID, IL, IN, IA, KS, KY, MA, ME,
       MD, MI, MN, MS, MT, NE, NH, NV, NJ, NM,ND, OH, OR, PA, RI, SC, SD, TN, TX, UT, VT, VA, WV, WY, WI;
       MATRIX FINANCIAL SERVICES, LLC d/b/a MATRIX CAPITAL SERVICES, LLC in the following states: AZ, MO, OK;
       MATRIX CAPITAL SERVICES, LLC OF DELAWARE in the following state: LA;
       MFS OF FLORIDA INC. in the following state: FL.
       The Obligor address, for all entities listed above is 3100 McKinnon St., Suite 420, Dallas, TX 75201, 833-228-1900. The
       Obligor’s performance under this Contract is insured by an insurance policy issued by Plateau Casualty Insurance Company 2701
       N. Main St. Crossville, TN 38555 800-398-3632. If a Covered Repair is not paid within sixty (60) days after proof of loss has been
        iled, You may file a claim with Plateau Casualty Insurance Company at the address listed above.
                                                           CONTRACT INFORMATION
      COVERAGE                                                            DEDUCTIBLE PER VISIT
      Exclusionary Deluxe                                                 $100.00
      TERM MONTHS                         TERM MILES                        EXPIRATION DATE                  EXPIRATION MILEAGE
      36                                  75,000                            5/6/23                           159,891
                                                     CONTRACT SALE DATE                           SERVICE CONTRACT PRICE
                                                     4/6/20                                       $3,550.00
                                                              AGREEMENT PERIOD
      Terms for coverage are measured from the Contract sale date and the Vehicle odometer mileage reading at the time of sale. THIS
      SERVICE CONTRACT HAS A WAITING PERIOD OF ONE MONTH AND 1,000 MILES. During this waiting period, only the benefits
      listed under “TOW NG BENEFIT/ROADS DE SERVICE” will apply. Any breakdown that occurs during this waiting period will not be
      covered. This one month and 1,000 miles will be added to the end of the term listed above. This Contract begins on the Contract
      sale date and expires on the mileage or expiration date listed above, whichever occurs first. This Contract is non-renewable.
                                                           ADDITIONAL BENEFITS
     RENTAL CAR REIMBURSEMENT: If Your Vehicle sustains a Failure or Tire Failure resulting in a Covered Repair, then You may
     qualify for rental car reimbursement for up to $30 per day, with a 5 day maximum, not to exceed $150 per occurrence. The VEHICLE
     must be retained overnight at the REPAIR FACILITY in order to qualify for rental coverage. Rental coverage is contingent on the
     labor time required to replace/repair Covered Components authorized by the Administrator. The Administrator will use factory
     labor times or industry recognized flat-rate manuals to determine the required repair time. However, this time excludes the downtime
     waiting for parts or other delays beyond the control of the Licensed Repair Facility or the Administrator. The labor time necessary
     for rental reimbursement is as follows: 1 to 8 hours = 1 day; 8.1 to 16 hours = 2 days; 16.1 to 24 hours = 3 days; etc. Your rental car
     bene its will not continue beyond the day the repairs are completed and You are notified of completion. All vehicles must be rented
     from a licensed auto rental facility.
      TRIP INTERRUPTION: If You are more than 100 miles from Your home and Your Vehicle is in need of Emergency Repairs, then
      You may qualify for Trip Interruption benefits that include lodging and meal reimbursement for up to $75 per day, with a 3 day
      maximum, not to exceed $225 per occurrence. This bene it applies when a Licensed Repair Facility must keep Your Vehicle
      overnight to repair Your Vehicle, but it does not extend beyond the day the repairs are completed. For lodging and meal reimbursement,
      please save all receipts and contact the Administrator for instructions. Receipts must be legible and verifiable. Handwritten receipts
      will not be accepted. The Trip Interruption benefit is only available where allowed by law.
      TOWING BENEFIT/ROADSIDE SERVICE: In the event Your Vehicle is disabled, Roadside Services will dispatch a service vehicle
      to Your location to assist You. In the event You inoperable, Roadside Services will arrange to have Your Vehicle transported, once
      per claim, to the nearest Licensed Repair Facility for a maximum of $100 per occurrence.
      To obtain service for Towing/Roadside Assistance, You may contact 1-800-257-2205 or Matrix Warranty Solutions at 1-833-228-
      1900.
      AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR BEFORE STARTING ANY TEARDOWN OR REPAIRS.
                         PLEASE CALL 833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS
    ELCF-0918
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      Coverage: You are entitled to one (1) service per claim governed by one (1) paid service within 72-hours. Services available to You
      for a maximum of $100 per occurrence are tow roadside assistance services for the following: a battery jumpstart; flat tire change;
      fuel delivery (You are responsible for the actual cost of the delivered materials); lockout (access compartment only).
      Reimbursement: This is not a reimbursement service.
      Service Provider Network: All roadside assistance services and bene its are administered by Brickell Financial Services-Motor Club,
      Inc. d/b/a Road America Motor Club, located at 7300 Corporate Center Drive, Suite 601, Miami, Florida 33126.
                                                      OTHER IMPORTANT INFORMATION
      THIS CONTRACT IS NOT AN NSURANCE POLICY; IT IS A SERVICE CONTRACT BETWEEN YOU AND THE ADMINISTRATOR
      OBLIGOR. ANY CHANGE TO THE PREPR NTED TERMS AND CONDITIONS OF THIS CONTRACT IS NVALID AND OF NO
      FORCE OR EFFECT. IF ANY INFORMATION ON THIS CONTRACT IS N ERROR, CONTACT THE SELLING COMPANY OR
      ADMINISTRATOR IMMEDIATELY. PURCHASE OF THIS CONTRACT IS NOT REQUIRED IN ORDER TO PURCHASE A VEHICLE
      OR TO OBTAIN VEHICLE FINANCING.




      AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR BEFORE STARTING ANY TEARDOWN OR REPAIRS.
                        PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS
    XD-1219
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     Payment Options:
      Payment Option 1: Authorization for Credit Card Payment
     The Balance of Sales Price may be paid by Purchaser hrough, and Purchaser hereby authorizes Administrator
     and/or MEPCO to make, the applicable number of consecutive monthly charges to Purchaser's credit card
     account listed below, in the amounts and on the dates disclosed under Payment Plan Terms, until such time as
     the Balance of Sales Price, together wi h all Applicable Charges, are fully paid, or until such time as
     Administrator and/or MEPCO has received written notification of termination (“Credit Card Payment Termination
     Notice”) from Purchaser in time to allow reasonable opportunity to act on it.
     Credit Card Type                     Credit Card #                            Expiration Date
     Visa                                   xxxxxxxxxxxx
     I authorize charges to my credit card account for payment of the Balance of Sales Price together with all
     Applicable Charges in accordance with this Agreement.
      Payment Option 2: Authorization for Bank Account Direct Debit
     The Balance of Sales Price may be paid by Purchaser hrough, and Purchaser hereby authorizes Administrator
     and/or MEPCO to instruct Purchaser's financial institution described below to make the applicable number of
     consecutive mon hly payments in the amounts and on the dates disclosed under Payment Plan Terms, from the
     account listed below, by electronic automatic debit of Purchaser's checking or savings account. This authority
     will remain in effect un il such time as the Balance of Sales
     Price, together with all Applicable Charges, are fully paid, or until such time as Administrator and/or MEPCO
     has received written notification of termination (“Bank Account Direct Debit Termination Notice”) from Purchaser
     in time to allow reasonable opportunity to act on it.
      Checking                 Savings
     Name of Financial Institution                                                Routing #       Account #


     I authorize charges to my direct deposit account for the payment of the Balance of Sales Price together with
     all Applicable Charges in accordance with this Agreement.
      Payment Option 3: Monthly Bill
     The Balance of Sales Price shall be paid directly by Purchaser in accordance with he Payment Plan Terms
     listed above. Purchaser shall receive a monthly bill and shall make payment on or before he Payment Date of
     each consecutive month until he Balance of Sales Price, toge her with all Applicable Charges, are fully paid,
     or until such time as Administrator and/or MEPCO has received written notification of termination (“Monthly Bill
     Termination Notice”) from Purchaser. Purchaser shall send such payments to Administrator c/o MEPCO at
     such address as MEPCO provides to Purchaser.

   PURCHASER SHALL HAVE THE RIGHT, AT ANY TIME, TO CANCEL THE CONTRACT BY NOTICE TO MEPCO (“Termination
   Notice”) OR BY NONPAYMENT. PURCHASER SHALL HAVE NO OBLIGATION TO MAKE ANY INSTALLMENT PAYMENTS AFTER
   CANCELLATION. Subject to the Cancellation provisions on Page 2 hereof, unless MEPCO shall previously have received a
   Bill Termination Notice, (i) a late payment fee may be imposed in the amount of the lesser of 5% of the late payment or
   $5.00 in respect of any payment not received by MEPCO within five days of the scheduled Payment Date therefor (the
   “Late Charge”), and (ii) in the event that any scheduled payment is not made on or before the scheduled Payment Date,
   as provided in the Payment Plan Terms above, MEPCO is authorized by Purchaser (without notice thereof to Purchaser) to
   direct Administrator or Seller to cancel Purchaser’s Contract and this Agreement at any time for nonpayment. Purchaser
   hereby assigns to MEPCO all of Purchaser’s right, title and interest in and to the Contract, including Purchaser’s rights to
   cancel the Contract, receive all unearned and refund amounts under the Contract and Purchaser’s right to make a direct
   claim for indemnity against the Insurance Company. Purchaser represents to MEPCO that Purchaser’s decision to purchase
   the Contract from Seller under the payment program did not result in Seller charging Purchaser a different Total Sales Price
   for the Contract than Purchaser would have paid if Purchaser had decided instead to pay the purchase price of the Contract
   in full at the time this Agreement was executed. The content and format of this Agreement have been adopted to provide
   Purchaser with important information in a clear and familiar form, and their use does not imply that any particular federal
   or state law relating to lending or installment sales is applicable to this Agreement or the transaction it contemplates. IF
   YOU FAIL TO MAKE ANY PAYMENT WHEN DUE, YOUR CONTRACT WILL BE CANCELLED.
   By signing below, I agree I have had the opportunity to review, accept, and correct any errors contained in this Agreement.
    Purchaser understands that the personal information regarding Purchaser that is provided by Purchaser in connection
   with this Agreement will not be used or shared with any other party other than for the purpose of providing the services
   required by this Agreement and the Contract and as required or permitted by applicable law.

    Per Phone                                                            04/06/2020
     Purchaser                                                   Date
   ☒ This Agreement sets forth the terms and conditions of the payment plan authorized by Purchaser by phone or other electronic
   means. See page 3 for instructions to cancel.                                  See page 3 for additional terms and conditions.
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    PROMISE TO PAY: In consideration of the sale of the Contract to Purchaser, Purchaser promises to pay to
    MEPCO, on behalf of Mepco, the Balance of Sales Price and all Applicable Charges shown under Payment Plan
    Terms, subject to the provisions of this Agreement. Purchaser shall not have any right to reduce any amount
    owed to MEPCO pursuant to this Agreement for any reason whatsoever.
    CANCELLATION: Purchaser has the right to cancel this Agreement at any time. Purchaser may cancel this
    Agreement at any time by (i) electing not to make the next payment due pursuant to this Agreement or (ii) sending
    MEPCO a Termination Notice. In the event that (a) Purchaser elects not to make the next payment due
    pursuant to this Agreement, (b) MEPCO receives a Termination Notice or (c) an Event of Default occurs
    hereunder, MEPCO may cancel the Contract and this Agreement. After the effective date of Cancellation,
    Purchaser shall have no further obligation to make installment payments under this Agreement. IMPORTANT:
    Cancelling this Agreement does not immediately cancel your Contract; It only cancels your payment
    plan. Coverage under your Contract will eventually be cancelled (in accordance with the terms of this
    Agreement) based on your nonpayment. However, you should contact the Seller or Administrator in order
    to immediately cancel your Contract. Purchaser hereby assigns to MEPCO all of Purchaser’s right, title and
    interest in and to the Contract, including Purchaser’s rights to receive all unearned and return amounts and to
    assert any rights to reinstate the Contract and all proceeds thereof, and Purchaser’s right to make a direct claim
    for indemnity against the Insurance Company. In the event that Purchaser has made total payments to MEPCO
    in excess of the portion of the Total Sales Price plus Applicable Changes earned through the date of cancellation,
    Administrator or Seller shall refund the amount of such excess to Purchaser.
    POWER OF ATTORNEY: Following any default hereunder, and subject to the Cancellation provisions above,
    Purchaser hereby irrevocably appoints MEPCO as its true and lawful attorney-in-fact, only for the limited
    purposes related to this Agreement set forth in the following sentence until all amounts payable hereunder are
    paid in full. MEPCO shall have full power under this power of attorney to (i) cancel the Contract, (ii) receive,
    demand, collect or sue a n y p a r t y for any amounts relating to the Contract, (iii) endorse or execute in
    Purchaser’s name all checks issued and all other documents or instruments relating to the Contract, and (iv)
    take such other actions as are reasonably necessary to further the purposes of this Agreement.
    APPLICABLE CHARGES: If any payment due hereunder is more than five days late, and except as prohibited
    by applicable law, Purchaser agrees to pay MEPCO the Late Charge. Nothing herein shall be considered to waive
    any default hereunder or to grant any grace period with respect to any default for failure to make any payment on
    the Payment Date. Notwithstanding anything herein to the contrary, in the event that any scheduled payment is
    not made on or before the Payment Date, MEPCO may, in its sole discre ion, direct Administrator or Seller to
    cancel the Contract and this Agreement at any time for nonpayment. Except as prohibited by applicable law,
    Purchaser agrees to pay to MEPCO a fee of $25 for each check or each debit that is dishonored by Purchaser’s
    bank. Purchaser consents to the payment of all of the Applicable Charges in accordance with the Payment Option
    selected.
    DEFAULT PAYMENT OPTION: If Purchaser fails to select a Payment Option, Purchaser shall be deemed to have
    selected a Monthly Bill.
    PREPAYMENT: Purchaser shall have the right to prepay the entire unpaid Balance of Sales Price at any time,
    without penalty or discount.
    DEFAULT: If (i) Purchaser fails to make any payment due hereunder or comply with any other provision hereof,
    (ii) Purchaser becomes the subject of any voluntary or involuntary bankruptcy proceedings, (iii) Purchaser has a
    receiver or trustee appointed for it or its property, or (iv) Purchaser makes an assignment for the benefit of its
    creditors or admits in writing that it is unable to pay its debts as they become due, an “Event of Default” shall be
    deemed to have occurred. Upon the occurrence of an Event of Default, MEPCO shall have the right to take such
    actions as are available to MEPCO hereunder at law or in equity. MEPCO shall be entitled to reimbursement for
    reasonable attorneys’ fees and costs in enforcing MEPCO’s rights hereunder.
    RELEASE: Purchaser hereby releases and discharges MEPCO from any liability for damages with respect to
    any action taken following an Event of Default by Purchaser and shall indemnify and hold MEPCO harmless from
    any liabilities, claims, damages or causes of action in connection with any such action by MEPCO.
    PAYMENT AFTER CANCELLATION: Any payment made by Purchaser after the effective date of cancellation (or
    after a notice of cancellation is mailed to Purchaser) will not result in a reinstatement of the Contract but will be
    applied to Purchaser’s outstanding obligations, if any, under this Agreement. Neither the acceptance nor the
    application of any such payments shall constitute an undertaking by MEPCO to take steps to attempt to reinstate
    such Contract or constitute a waiver of any Event of Default hereunder.
    ACCEPTANCE, RATIFICATION, ACCURACY: This Agreement shall be considered accepted by Purchaser and
    MEPCO upon the payment of the down payment and is effective as of Effec ive Date of Contract. Purchaser agrees
    that MEPCO shall have the authority to revise this Agreement to insert any provision omitted (including but not
    limited to the due date of the first installment) upon written notice to Purchaser. In addition, if he total payments
    due hereunder are increased due to underwriting considerations, MEPCO shall have the right, upon receipt of
    Purchaser’s written authorization, to revise dollar amounts on the face of this Agreement. Any change by Purchaser
    (by way of deletion, modification, supplementation or otherwise), to any portion of this Agreement shall render the
    Agreement voidable, at MEPCO’s option.
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                                                    Plan Agreement    4
    ASSIGNMENT: MEPCO may, with or without notice to Purchaser, assign or pledge its rights, title and interest in,
    to and under this Agreement and the power of attorney herein described. Upon written notice from any such
    assignee, Purchaser shall make all payments to such assignee without defense, offset or counterclaim.
    AGENTS OF SING For Service, LLC d/b/a MEPCO; AUTHORITY: Pursuant to one or more powers of attorney,
    MEPCO will, from time to time, appoint one or more third parties as its agent to take certain actions on its behalf in
    connection with this Agreement. The Purchaser is entitled to rely upon actions taken and statements made by such
    agents on behalf of, and in the name of, MEPCO to the same extent as if MEPCO had taken such actions or made
    such statements in its own name.
    LIMITED RESOURCE COVENANT: The Purchaser understands and agrees that: (i) Mepco’s obligations are solely
    the obligations of Mepco and of no other Person, payable at any time only to the extent funds are available to
    Mepco, (ii) to the extent funds at any time are not available to Mepco to pay such obligations, any claims relating
    thereto shall not constitute a claim against Mepco but shall continue to accrue; (iii) the payment of any claim (as
    defined in Section 101 of Title 11 of the Bankruptcy Code) is expressly subordinated to the payment in full of all of
    Mepco’s outstanding obligations to its lenders and the administrative agent; and (iv) prior to the date that is one
    year and one day after the payment in full of all of Mepco’s outstanding obligations, the Purchaser will not institute
    against, or join with any other Person in instituting against, Mepco any bankruptcy, reorganization, insolvency or
    liquidation proceedings or similar proceeding under the laws of the United States or any state of the United States.
    WAIVERS, REMEDIES, ENTIRE AGREEMENT: MEPCO’s failure to require strict performance of any provision
    hereof or to exercise any of its rights hereunder, shall not be construed as a waiver or relinquishment of any future
    rights under such provision, but the provision shall continue and remain in full force and effect. The exercise of
    any rights or remedies by MEPCO under this Agreement is cumulative and shall not preclude MEPCO from
    exercising any other right or remedy it may have hereunder or at law. Each provision hereof shall be interpreted
    in such manner as to be effective and valid under applicable law. If any provision hereof is held to be unenforceable
    or invalid under applicable law, he unenforceability or invalidity of such provision shall not impair the validity or
    enforceability of the remaining provisions hereof. Time is of the essence in this Agreement.
    MANDATORY ARBITRATION: MEPCO and Purchaser mutually agree that (i) any one of them has the right to
    elect to resolve by binding arbitration:

    any claim, dispute or controversy (whether in contract, tort or otherwise, whether pre-existing, present or future,
    and including statutory, common law, intentional tort, and equitable claims) arising from or relating to this Agreement
    or the Contract; (ii) if arbitration is chosen, it will be conducted with the American Arbitration Association (the “AAA”)
    pursuant the AAA’s Commercial Arbitration Rules: (iii) THERE SHALL BE NO AUTHORITY FOR ANY CLAIMS
    TO BE ARBITRATED ON A CLASS ACTION BASIS; (iv) AN ARBITRATION CAN ONLY DECIDE MEPCO’S
    OR PURCHASER’S CLAIM(S) AND MAY NOT CONSOLIDATE OR JOIN THE CLAIMS OF OTHER PERSONS
    WHO MAY HAVE SIMILAR CLAIMS; (v) ANY SUCH ARBITRATION HEARING WILL TAKE PLACE IN THE
    BOROUGH OF MANHATTAN, CITY OF NEW YORK, NEW YORK; (vi) Purchaser hereby waives any objection
    which it may now or hereafter have based on venue and/or forum non conveniens of any such arbitration; and
    (vii) this Agreement is made pursuant to a transaction involving interstate commerce, and shall be governed by the
    Federal Arbitration Act.
    GOVERNING LAW AND VENUE: This Agreement shall be governed by and construed in accordance with the
    laws of the State of New York without regard to applicable conflict of law principles. Purchaser hereby
    unconditionally and irrevocably waives any claim to assert that the law of any other jurisdiction governs this
    Agreement or the Contract. Any legal suit, action or proceeding against MEPCO arising out of or relating to
    the Agreement or the Contract may only be instituted in Federal or State Court in the State of New York, Borough
    of Manhattan, City of New York, New York. Purchaser hereby waives any objection which it may now or hereafter
    have based on venue and/or forum non conveniens of any such suit, action or proceeding and Purchaser
    hereby irrevocably submits to the jurisdiction of any such court in any such suit.
    WAIVER OF CLASS ACTION: PURCHASER HEREBY WAIVES ANY RIGHT TO BRING ANY LEGAL ACTION
    OR PROCEEDING WITH RESPECT TO THIS AGREEMENT, THE CONTRACT OR ANY MATTER ARISING IN
    CONNECTION THEREWITH ON A CLASS ACTION BASIS.
    WAIVER OF JURY DEMAND: PURCHASER HEREBY AGREES NOT TO ELECT A TRIAL BY JURY OF ANY
    ISSUE TRIABLE OF RIGHT BY JURY WITH REGARD TO THIS AGREEMENT, THE CONTRACT OR ANY
    OTHER ACTION ARISING IN CONNECTION HEREWITH OR THEREWITH. MEPCO IS HEREBY AUTHORIZED
    TO FILE A COPY OF THIS PARAGRAPH IN THE EVENT OF ANY SUCH PROCEEDING.
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                                 MAINTENANCE PROGRAM
     With the ELEMENT Maintenance Program you will receive these benefits with
     coverage beginning Sixty (60) days after the effective date shown below this
     Program expires 14 months from the Membership purchase Date.

     1.   OIL CHANGES: Oil changes up to 5 quarts (maximum three (3) oil changes during
          the term of the Agreement at $40.00 for each service); however, if synthetic oil is used,
          blends, or for diesels, larger V-8 type vehicles You will receive a $55.00 discount.
     2.   BRAKES PADS/SHOES: $100.00 or $130.00 on select vehicles as follows all
          trucks, SUV's, AWD's, diesels, and all models of Acura, Audi, BMW, Cadillac,
          Infiniti, Jaguar, Lexus, Lincoln, Mercedes, Saab, Volkswagen, and Volvo toward the
          replacement of brake pads/shoes (A labor charge may apply).
     3.   BATTERY: 1st year replacement if bad or unlimited replacement during term of the
          Agreement for new vehicles or $100.00 credit towards one (1) battery of your choice
          (installation charge may apply).
     4.   COOLING SYSTEM MAINTENANCE & LUBE: Drain/refill, pressure check, inspect
          hoses, belts, clamps, & lube chassis. WE will pay for (1) service during the term of the
          agreement up to $40.00.
     5.   HAND HELD COMPUTER ENGINE DIAGNOSTIC & ALIGNMENT CHECK: One (1)
          service during the term of the Agreement.
     6.   SAFETY INSPECTIONS: Includes a wiper blade replacement with one (1)
          inspection (Up to 20” blades).

     Required Factory Maintenance Mileage Interval such as 30,000, 60,000 and 90,000
     miles inspections are not covered under this program. For reimbursement for The
     Element Benefits, please save all receipts and mail all your receipts to the Administrator
     at 3100 McKinnon Street Suite 420 Dallas, TX 75201.
     Receipts must be legible and verifiable. Handwritten receipts will not be accepted.
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                Shaft and Column Couplings.
                COOLING COMPONENTS: Water Pump; Radiator; Cooling Fan; Cooling Fan Motor; Fan Clutch; and
                Coolant Recovery Tank.
                FUEL SYSTEM COMPONENTS: Fuel Delivery Pump; Fuel Injection Pump; Fuel Injectors; Fuel Tank, Metal
                Fuel Lines; Fuel Pressure Regulator; Fuel Sending Unit; Fuel Gauge; Air Control Valve; Oxygen Sensors;
                MAF Sensor; Camshaft/Crankshaft Sensors; Electronic Fuel Injection Computer/Module.
                BRAKE COMPONENTS: Master Cylinder; Power Brake Cylinder; Vacuum Assist Booster; Calipers; Wheel
                Cylinders; Compensating Valve; ABS Accumulator, Pump, Motor, Reservoir; Wheel Speed Sensors;
                Hydraulic Lines And Fittings; and Parking Brake Actuator.
                ELECTRICAL COMPONENTS: Alternator/Generator; Ignition Module; Ignition Switch; Headlight Switch;
                Turn Signal Switch; Horns; Distributor (does not include Cap and Rotor); Starter Motor; Starter Solenoid;
                Starter Drive; Windshield Wiper Motors; Windshield Wiper Delay Switch; Windshield Wiper Linkage;
                Windshield Washer Pump; Power Seat Motor; Power Antenna Motor; Power Window Motors and
                Regulators; Power Door Locks and Actuators; Power Trunk Release; Wiring Harness; Cruise Control
                Assembly; Ignition Lock Cylinder; Manually Operated Switches; Convertible Top Motor; and Driver
                Information Gauges/Indicators
                SEALS AND GASKETS: Leaking seals and gaskets on any Covered Components listed in this section
                will be covered. Minor loss of fluid or seepage is considered normal and is not considered a Mechanical
                Breakdown.
                HYBRID COMPONENTS: Hybrid Transaxle, Electronic Transmission, Inverter, Generator(s), and Electronic
                Display Monitor.
          Enhanced Powertrain Coverage
          Only those items listed under the “Enhanced Powertrain Coverage” and “Tire Coverage” heading in this section
          are covered. If a Covered Component Fails during the term of this Contract, the Administrator will pay for the
          repair or replacement of the Covered Component, subject to the terms and conditions herein.
                 ENGINE COMPONENTS: Cylinder Block and Cylinder Heads (only if damaged by internally lubricated
                 parts); all internal Lubricated Parts of the Engine; Harmonic Balancer; Timing Gear; Timing Chain; Timing
                 Belt and Water Pump. All internally lubricated parts of the Original Equipment Manufacturer (OEM) parts of
                 the turbo/twin turbo/supercharger. The turbo/twin turbo/supercharger case is not covered.
                TRANSMISSION COMPONENTS: Transmission Case (only if damaged by internally lubricated parts) and
                all internal Lubricated Parts of the Transmission; Torque Converter; Flywheel/Flex Plate and Vacuum
                Modulator.
                TRANSFER CASE COMPONENTS: Transfer Case (only if damaged by internally lubricated parts) and all
                internal Lubricated Parts of the Transfer Case.
                DRIVE AXLE COMPONENTS: Drive Axle Housing (only if damaged by internally lubricated parts) and all
                internal Lubricated Parts of the Drive Axle; Drive Shafts; Universal Joints; Constant Velocity Joints; Locking
                Hubs.
                AC/HEATING COMPONENTS (OEM or DEALER INSTALLED ONLY): Condenser; Compressor;
                Compressor Clutch; Evaporator; Accumulator Dryer; Expansion Valve; Condenser Fan; and Condenser Fan
                Motor.
                COOLING COMPONENTS: Water Pump; Radiator; Cooling Fan; Cooling Fan Motor; Fan Clutch; and
                Coolant Recovery Tank.
                FUEL SYSTEM COMPONENTS: Fuel Delivery Pump; Fuel Injection Pump; Fuel Injectors; Fuel Tank, Metal
                Fuel Lines; Fuel Pressure Regulator; Fuel Sending Unit; Fuel Gauge; Air Control Valve; Oxygen Sensors;
                MAF Sensor; Camshaft/Crankshaft Sensors; Electronic Fuel Injection Computer/Module.
                ELECTRICAL COMPONENTS: Alternator/Generator, A/C Blower Motor, Starter Motor; Starter Solenoid;
                Starter Drive; Horns; Windshield Wiper Motor; Windshield Washer Pump; Power Antenna Motor; Power
                Window Motors; Window Regulators; Power Door Lock Actuators; Power Trunk Release; and all Manually
                Operated Switches.
                SEALS AND GASKETS: Leaking seals and gaskets on any Covered Components listed in this section
      AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR BEFORE STARTING ANY TEARDOWN OR REPAIRS.
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                  will be covered. Minor loss of fluid or seepage is considered normal and is not considered a Mechanical
                  Breakdown.
                  HYBRID COMPONENTS: Hybrid Transaxle, Electronic Transmission, Inverter, Generator(s), and Electronic
                  Display Monitor.
            Tire Coverage
            Coverage afforded under this Service Contract applies ONLY to the D.O.T. approved and manufacturer-specified
            tires on Your Vehicle at the time of delivery. In the event of a Covered Tire Repair, any D.O.T. approved or
            manufacturer-specified replacement will also be covered for the remainder of Your term. In the event of a Covered
            Tire Repair, the following stipulations apply:
                   1.   Tire Repairs: The Administrator will reimburse You up to $20 (per tire per single visit) of the Cost
                        to repair Your tire.
                   2.   Tire Replacement: The Administrator will reimburse You up to one hundred dollars ($100.00)
                        toward the Cost for each tire replacement per single visit, up to a maximum aggregate per Contract
                        term of four hundred dollars ($400.00). You must have more than 3/32” tread depth remaining to be
                        eligible for reimbursement.
    C.      OPTIONAL COVERAGE
            LUXURY ELECTRONICS PACKAGE: If You paid for the Luxury Electronics Package option as indicated on the
            first page of this Contract, the following OEM parts are covered: Radio/GPS/Navigation Components, Integrated
            Radio/GPS, Liquid Crystal Display (LCD) Screens, DVD Players, Rearview Back-up Camera and Sensors, Voice
            Activation Systems, Standalone Seat Heaters (not integrated in upholstery), Sunroof and Convertible Top Motors.
            Coverage is limited to either one replacement or one repair per component for the term of the Contract. The
            Luxury Electronics Package applies only to Failures of the “base unit” and does not cover any remote controls,
            handheld controls, wiring, game cartridges, headphones, DVDs, MP3 players, programming, or any other non-
            listed parts. Aftermarket components are specifically excluded from coverage. Additionally, purchasing this option
            will remove the limit of $300 for repairs to the original factory installed radio, main speaker system, and single
            compact disk/cassette player, as listed in the “LIMITS OF LIABILITY” section. All other stipulations in the “LIMITS
            OF LIABILITY” section will still apply.
            EMISSIONS PACKAGE: If You paid for the Emissions Package option as indicated on the first page of this
            Contract, the following parts will be covered: Air Fuel Ratio Sensor/Oxygen Sensor, Air Pump, Barometric
            Pressure Sensor, Canister Purge Solenoid, EVAP Purge Canister, EVAP Leak Detection Pump And Valve, EVAP
            Vent Valve, Deceleration Valve, EGR Valve, EGR Solenoid, EGR Check Valve, DPFE Sensor, EGR Controller,
            EGR Diverter Valve, EGR Relay, Purge Valve, EGR Position Sensor, EGR Lines, EGR EFE Thermal Vacuum
            Switch, EGR/EFE Valve, Engine Oil Fill Cap, Fuel Fill Cap, Fuel Fill Neck Restrictor, Fuel Tank Pressure Sensor,
            Fuel Tank Vent Valve, Fuel Temperature Sensor, Idle Air Control Valve, Intake Air Resonator, Intake Air
            Temperature Sensor, MAP Sensor, Mass Air Flow Sensor, PCV Sensor, Air Injection Control Valve, Air Injection
            Check Valve, Air Injection Pump, Air Injection Relay.
    D.      LIMITS OF LIABILITY
            Our limit of liability for original factory installed radio, main speaker system, and single compact disk/cassette
            player will not exceed an aggregate amount of $300.00 per Contract term, unless You paid for the Luxury
            Electronics Package as indicated on the first page of this Contract. Our limit of liability for tire replacements will
            not exceed an aggregate amount of $400.00 for the term of this Contract. For all other repairs or replacements,
            Our liability per repair visit, under any circumstances, will not exceed the NADA “clean trade- in” value of the
            Vehicle immediately prior to Breakdown. The total of all benefits paid or payable under this Contract will not
            exceed $15,000.00. Our liability for incidental and consequential damages including, but not limited to personal
            injury, physical damage, property damage, loss of Vehicle use, loss of time, inconvenience and commercial loss
            resulting from the operation, repair, maintenance, or use of this Vehicle is expressly excluded.
    E.      WHAT IS NOT COVERED
            This Service Contract does not cover the items under the “Exclusionary Coverage” and “Tire” headings
            listed in this section, “WHAT IS NOT COVERED”. There may also be specific exceptions related to any
            option(s) You selected, as described in the corresponding sections.
            Exclusionary Coverage
            1.   Any repair that has not received prior authorization from the Administrator. This exclusion does not
                 apply to Emergency Repairs.
            2.   The repair or replacement of any motor vehicle component that was not properly operating in
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                accordance with manufacturer’s specifications at the time this Service Contract was sold (i.e. pre-
                existing conditions).
          3.    Any Vehicle with a branded title (e.g. salvage, junk, rebuilt, total loss, flood, fire, or gray market) or
                has been deemed a total loss by an insurance entity.
          4.    Any Vehicle that has been repurchased by or had its price renegotiated with the manufacturer. Any
                Vehicle that has had the manufacturer’s warranty revoked, voided, or cancelled; or any Vehicle that
                never came with a manufacturer’s warranty.
          5.    The repair, modification, or replacement of any component that has not Failed, as defined by this
                Contract.
          6.    The repair, retrofit, or replacement of any component required for compliance by any local, state, or
                federal law or legislation.
          7.    The gradual reduction in component performance through normal or excessive usage. The repair or
                replacement of engine valves, valve guides, valve seals, and/or piston rings is not covered if the
                purpose of such repair(s) is simply to raise the compression of the engine, increase performance,
                or to reach acceptable oil consumption/burning.
          8.    If any alterations have been made to Your Vehicle or You are using or have used Your Vehicle in a
                manner not recommended by the manufacturer, including but not limited to, the failure of any custom
                or add-on part, all frame or suspension modifications, lift/lowering kits, the use of oversized tires or
                any tire that is not recommended by the original manufacturer or it creates an
                odometer/speedometer variance of greater than 4%, trailer hitches. Also not covered are any
                emissions and/or exhaust systems modifications, engine modifications, transmission modifications,
                and/or drive axle modifications, which includes any performance modifications.
          9.    Any Mechanical Breakdown covered by an insurance entity or any component with a warranty or
                “repairer’s guarantee” through a repair facility or when the responsibility for the repair is covered
                by an insurance policy, manufacturer and/or dealer customer assistance program, or any warranty
                from the manufacturer, such as extended drive train, major component or full coverage warranties,
                or a repairer’s guarantee/warranty (regardless of manufacturer’s or repairer’s ability to pay for such
                repairs). Further, Coverage under this Contract is similarly limited in the event of a Breakdown if the
                manufacturer has announced its responsibility through any means, including public recalls and
                factory service bulletins. Additionally, if an insurance entity, the manufacturer, or Licensed Repair
                Facility notifies You that they will monetarily participate in a repair that has been authorized and paid
                by Us, then We will exercise Our right to recover the respective amount.
          10.   Any Vehicle with an odometer that has been tampered with, altered, disconnected, or not maintained
                in working order. You may be required to provide an odometer statement at the time of sale of this
                Service Contract.
          11.   Any Mechanical Breakdown or Failure caused by (a) normal or excessive wear and tear; (b) Your
                failure to provide the proper maintenance to the failed part or parts; (c) overheating, regardless of
                the cause of overheating; (d) incorrect, contaminated, or inadequate amounts of coolant, lubricants,
                or fluids; (e) accidental loss or damage, impact, collision or upset, falling missiles or objects, rust,
                corrosion, fire, theft, larceny, explosion, lightning, earthquake, wind storm, hail, water, flood,
                freezing, malicious mischief, vandalism, riot, or civil commotion; or (f) DRIVER NEGLIGENCE OR
                MISUSE, INCLUDING THE OPERATION OF AN IMPAIRED VEHICLE.
          12.   Cosmetic damage or cosmetic related repairs (e.g. scratches, nicks, dents, or tears).
          13.   Body components or repairs related to the body of the Vehicle (e.g. bumpers, lenses, glass, paint,
                convertible or vinyl tops, sheet metal, outside ornamentation, frame or structural body parts, air or
                water leaks, wind noise, weather strips, squeaks or rattles, trim, upholstery, carpet, or mats).
          14.   Navigational systems, unless You selected and paid for the Luxury Electronics Package option at
                the time this Service Contract was sold, in which case only the factory-installed navigational system
                on Your Vehicle will be covered.
          15.   The following, unless required in conjunction with a Covered Repair: upgrades, adjustments,
                alignments, oil, fluids, greases, lubricants, or refrigerant.
          16.   Maintenance services and parts described in the manufacturer’s maintenance schedule for Your
                Vehicle. NOTE: During the term of this Service Contract, it may become necessary to (a) replace
                spark/glow plugs and wires, emission control valves, timing belts, drive belts, distributor caps and
                rotors, and filters; (b) adjust belts, ignition, transmission bands, or clutch system; (c) clean fuel and
                cooling systems, or remove sludge or carbon deposits; and (d) maintain or replace items not
                specifically covered under this Service Contract. These aforementioned services and replacements

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                are required because of normal wear and usage—they are Your responsibility. Costs for these
                services and parts are not covered by this Service Contract.
          17.   Any expenses associated with shop supplies, materials charges (i.e. miscellaneous items not
                directly associated with a Covered Repair), hazardous waste charges, diagnosis time (where a
                Covered Mechanical Breakdown has not occurred), freight charges, or storage charges.
          18.   Vehicles used for commercial towing, dump or refuse collection, hauling or towing loads weighing
                in excess of vehicle manufacturer’s specifications, taxi, livery, shuttle, rental, construction, racing
                or competitive driving, emergency services, or Vehicles equipped with a snow plow.
          19.   Business Use Vehicles including UBER and LYFT, unless the Business Use surcharge is selected
                and paid at the time this Contract is sold.
          20.   Vehicles operated by more than one person or vehicles using multiple drivers over a period of time
                due to shift work.
          21.   The repair or replacement of the following: (a) batteries and battery cables, including batteries and
                battery cables for Hybrid vehicles; (b) exhaust system components and catalytic converters; (c)
                shock absorbers; (d) fasteners, nuts, bolts, clips, screws; (e) fuses and bulbs; (f) safety restraint
                systems (including air bags); (g) brake linings, rotors, and drums; (h) sealed beams and LED or HID
                lamps; headlamp and tail lamp assemblies; (i) wiper blades, hoses, molded rubber, and rubber-like
                items; (j) clutch disc and linings, clutch pressure plate, clutch throw-out bearings, pilot bearings; (k)
                bent shift forks, stretched timing chains; and (l) cellular phones.
          22.   Any losses resulting from delays, labor strikes, loss of time, inconvenience, or other causes beyond
                the control of the Administrator or Licensed Repair Facility.
          23.   The repair or replacement of any Covered Component that has been damaged by a non-Covered
                Component or from an improper repair.
          24.   The repair or replacement of any non-Covered Component damaged as a result of the Failure of a
                Covered Component.
          25.   Vehicles registered or needing repairs or replacements outside of the contiguous United States,
                Alaska, or Hawaii.
          26.   Convertible top assemblies; television/VCR/DVD players; game centers; cumulative repair or
                replacement costs during the term of this Contract; audio/video equipment and audio/video
                accessories; all touch screen and/or voice activated accessories, including related display screens
                and heads up displays on windshields; electronic transmitting/receiving devices; voice recognition
                systems; remote control consoles; security systems; and radar detection devices. If You purchased
                the Luxury Electronics Package, items listed under the “Luxury Electronics Package” in the Optional
                Coverage section will be covered.
          27.   Any component or part of a component that enables a Vehicle to be propelled by any source of
                power other than gasoline, diesel fuel, or E85 ethanol. In addition, components belonging solely to
                any of the following (unless otherwise stated in this document): Hybrid Vehicles, Plug-in Hybrid
                Vehicles, Electric Vehicles, Extended-Range Electric Vehicles, or Hydrogen-Powered Vehicles. The
                Hybrid Battery is not covered in any instance.
          28.   All emission components. If You purchased the Emissions Package, items listed under the
                “Emissions Package” in the Optional Coverage section will be covered.
          29.   All Nissan CVT Transmissions regardless of model or year of manufacture.
          Tire
          Stipulations noted under the “Exclusionary” heading in this section, “WHAT IS NOT COVERED,” also
          apply to Your Vehicle’s tires. In addition, the following tire- specific exclusions apply:
          1. Destruction or damage to a tire due to off-road Vehicle use, construction site use, or an impact with
                an engineered obstruction in the highway or roadway (including, but not limited to curbs).
          2. Any repair or replacement due to dry-rot, cracking, or peeling of tread.
          3. Tires that prematurely fail because of overloading, improper loading, or improper inflation.
          4. Used, retread, or remanufactured tires.
          5. Tires that are not D.O.T. certified or that do not meet the specifications prescribed by the
                manufacturer of the Vehicle listed in this Service Contract.
          6. Any Tire Failure occurring when any portion of the tread depth on the failed tire is 3/32 of an inch or
                less.
          7. Tires transferred from another vehicle.


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    F.      WHAT TO DO IF YOUR VEHICLE SUSTAINS A MECHANICAL BREAKDOWN OR A TIRE FAILURE
            1.  Take immediate action to prevent further damage to Your Vehicle. Any damage resulting from continued
                operation of an impaired Vehicle will constitute failure to protect Your Vehicle and will not be covered under
                this Service Contract.
            2.  You may deliver Your Vehicle to the Licensed Repair Facility of Your choice. However, authorization
                must be obtained from the Administrator prior to any repair.
            3.  Present this Contract to the Licensed Repair Facility. The Administrator may also require You to provide
                the Licensed Repair Facility with proof of all relevant maintenance as expressed under “MAINTENANCE
                AND RECORDS”.
            4.  Ensure that the Licensed Repair Facility contacts the Claims Department for instructions prior to any
                repairs. The Claims Department can be reached at 1-833-228-1900 from 8:00 A.M. – 12:00 P.M. and 1:00
                P.M. – 6:00 P.M. (CST) Monday – Friday. AUTHORIZATION MUST BE OBTAINED FROM THE
                ADMINISTRATOR BEFORE STARTING ANY TEARDOWN OR REPAIRS.
            5.  If Emergency Repairs are required, deliver Your Vehicle to a Licensed Repair Facility and have the
                necessary repairs performed at a reasonable and customary charge. On the next business day, report the
                repairs to the Administrator at 1-. The Administrator will determine the reimbursement eligibility in
                accordance with the terms and conditions of this Service Contract.
            6.  In all instances, if Your repair is a Covered Repair or Covered Tire Repair, then You are required to pay
                the Licensed Repair Facility the deductible amount reflected on the first page of this Contract. In addition,
                You are also required to pay for anything not authorized by the Administrator.
            7.  The amount authorized by the Administrator is the maximum amount that will be paid for any repairs
                covered under the terms of this Contract. Any additional amount must receive prior approval from the
                Administrator. Should a claim arise before this Contract is paid in full, the balance owed will be deducted
                from the claim payment.
    G.      WHAT THE ADMINISTRATOR WILL DO WHEN A CLAIM IS REPORTED
            The Administrator will determine the extent of coverage, subject to the terms and conditions of this Contract. To
            that end, the Administrator will verify the Failure or Tire Failure with the Licensed Repair Facility, verify
            coverage, determine the Cost of the Covered Repair or Covered Tire Repair subject to the terms, conditions,
            and limitations of this Contract, and authorize the claim. The claim is not approved unless authorization numbers
            are given to the Licensed Repair Facility.
            NOTE: (1) At the sole discretion of the Administrator, Failed parts or Failed Tires may be replaced with new
                  parts or tires, remanufactured parts or tires, or used parts or tires of like kind and quality.
                  (2) We reserve the right to inspect Your Vehicle to verify Failure(s) or Tire Failure(s). In addition, if a
                  dispute arises between the Licensed Repair Facility and Us, We reserve the right to relocate Your
                  Vehicle to a Licensed Repair Facility of Our choice. In the event the Administrator determines that a
                  repair in question is not a Covered Repair or a Covered Tire Repair, then You are responsible for any
                  cost incurred.
    H.      STATE SALES TAX
            The payment of sales tax on Covered Repairs or Covered Tire Repairs will be made in accordance with the
            regulations of the Taxing Authority in the state where Your Vehicle has been repaired.
    I.      DEFINITIONS
            •    ADMINISTRATOR: Matrix Warranty Solutions, Inc. 3100 McKinnon St., Suite 420, Dallas, TX 75201.1-
                 833-228-1900.
            •    BUSINESS USE: Vehicles used primarily for profit, such as repair work, route work, service work, and
                 delivery. Vehicles used for farm work or oil field work are included under this definition and are eligible for
                 coverage if their primary use is transportation and not off-road work. Other examples include, but are not
                 limited to floral delivery, cable TV repair, plumbing, vending machine services, catering, medical supply
                 delivery, home repairs, and realty services.
            •    COST: The customary and reasonable charges for the parts and labor necessary to repair or replace
                 Covered Components or Covered Tires. Cost will not exceed the manufacturer’s suggested retail (list)
                 price for parts and labor will be verified by the standard version of the following nationally recognized labor
                 guide: Alldata. The labor rate must be authorized by the Vehicle manufacturer for franchised dealers and
                 cannot exceed the average retail rate charged by similar repair facilities in the same area. All charges are
                 subject to the limits of liability, the terms and conditions of this Service Contract, and the Administrator’s
                 approval.
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            •     COVERED BREAKDOWN or COVERED MECHANICAL BREAKDOWN: A Breakdown that is covered by
                  this Contract.
            •     COVERED PART(S) and COVERED COMPONENT(S): Any part of the Vehicle listed herein as a Covered
                  Part/Component and not excluded from coverage by this Service Contract.
            •     COVERED REPAIR: A repair to a Covered Part/Component that is authorized by the Administrator.
            •     COVERED TIRE: A tire that that conforms to Vehicle manufacturer’s specifications and was D.O.T.
                  approved at the time of sale, or any equivalent replacement tire on the Vehicle when it was delivered.
            •     COVERED TIRE REPAIR: A repair to a Covered Tire that is authorized by the Administrator as defined
                  under Tire Failure or Failed Tire(s).
            •     EMERGENCY REPAIRS: Repairs made outside of Administrator’s business hours, which, if not
                  performed, would impair the future operation of Your Vehicle, or render Your Vehicle inoperable or unsafe
                  to drive.
            •     FINANCE COMPANY: Any financial institution providing financing for the purchase of this Service
                  Contract.
            •     LICENSED REPAIR FACILITY: Any automotive repair facility that has been licensed to perform automotive
                  repairs by the state in which it operates.
            •     LUBRICATED PART: A part that requires lubrication to function correctly.
            •     MECHANICAL BREAKDOWN, BREAKDOWN, FAILURE, FAILS, or FAILED: The inability of any Covered
                  Component(s) that has received proper maintenance, as prescribed by this Service Contract, to function
                  in the manner for which it was designed. This inability must be the result of defective material or faulty
                  workmanship, not due to the gradual reduction in component performance through normal or excessive
                  usage. In addition, a Failed part must be outside the allowable tolerances prescribed by the manufacturer
                  to be deemed a Failure. This is distinguished from Tire Failure, as defined in this section.
            •     ROAD HAZARD: Potholes or debris on the surface of a road (such as nails, glass, rocks, or tree limbs)
                  which may cause damage to your Covered Tire.
            •     SELLING COMPANY: The entity identified on the first page of this Contract from whom You purchased
                  this Service Contract.
            •     SERVICE CONTRACT or CONTRACT: This document in its entirety, which explains the coverage and
                  limitations afforded to You.
            •     TIRE FAILURE or FAILED TIRE(S): The inability of any tire to function in the manner for which it was
                  designed, either due to contact with a Road Hazard, a defect in materials, or faulty workmanship. This
                  inability to function is not due to misuse or abuse, and specifically excludes normal and excessive wear and
                  tear.
            •     VEHICLE: The Vehicle identified on the first page of this Contract.
            •     WE, US, OUR: Matrix Financial Services LLC, 3100 McKinnon St., Suite 420, Dallas, TX 75201, 1-833-
                  228-1900.
            •     YOU, YOUR, CONTRACT HOLDER, MY, and I: The person(s) whose name is listed as the purchaser(s) of
                  this Service Contract.
    J.      CANCELLATION AND RENEWAL
            CONSUMER ACKNOWLEDGES THAT THE EXCLUSIONARY DELUXE SERVICE CONTRACT CONSISTS OF
            TWO SEPARATE COVERAGES, EXCLUSIONARY AND POWERTRAIN. 75%OF THE PREMIUM WILL BE
            EARNED DURING THE EXCLUSIONARY COVERAGE PERIOD AND 25% OF THE PREMIUM WILL BE
            EARNED DURING THE POWERTRAIN COVERAGE PERIOD.
            We agree to pay on behalf of the Selling Company, the unearned refund based on consideration received from
            the Selling Company. The Selling Company agrees to pay the unearned portion of the commission originated from
            the sale of this Service Contract. Neither the Selling Company’s Administrator, claims service, nor the Selling
            Company’s insurer can be held liable for return of the Selling Company’s commission or any part thereof as paid
            under this Service Contract. In the event the Purchase Price of Your Service Contract is being paid through a
            Payment Plan (or its equivalent) which is terminated for non-payment, the Term Months and Term Miles Limit of
            this Service Contract will be modified to reflect the portion of the Service Contract that you have paid for. The
            modified Term Months and Term Miles Limit of the Service Contract will be calculated on a pro-rata basis by adding
            the time and mileage that you have paid for to the Service Contract, Contract Sale Date and Vehicle Odometer
            Mileage on the Service Contract Sale Date as listed on the Declarations Page. You may contact the Administrator
            toll free at 833-228-1900 to obtain the modified Term Months and Term Miles Limits.

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            CANCELLATION BY THE FINANCE COMPANY: You hereby authorize the Finance Company to cancel this
            Contract on Your behalf in the event: (1) Your Vehicle is repossessed, (2) Your Vehicle is declared a total loss,
            or (3) You default in Your obligations to the Finance Company. In addition, You authorize the Finance Company
            to be listed as a joint payee and to receive any refund in the event this Contract is cancelled.
            CANCELLATION BY THE ADMINISTRATOR: The Administrator may cancel this Contract for material
            misrepresentation or substantial breaches of contractual duties, conditions, or warranties, or for non-payment of
            the Service Contract price.
            CANCELLATION BY THE CONTRACT HOLDER: You may cancel this Service Contract at any time by notifying
            the Selling Company or Administrator in writing. This notification must include this Service Contract. A
            notarized statement indicating the actual mileage (odometer reading) of Your Vehicle on the date of the
            cancellation request may also be required unless the vehicle is lost, stolen or destroyed.
            CANCELLATION PROVISIONS: If this Contract is cancelled within the first thirty (30) days from the Contract sale
            date and no claims have been filed, then You will receive a full refund. If this Contract is cancelled after thirty (30)
            days past the Contract sale date or after a claim has been filed, then You will receive a pro rata refund less any
            claims paid under this Contract. Pro rata refunds are determined by multiplying the amount You paid for this
            Service Contract by the lesser of the following: (a) the number of covered days remaining on the Service Contract
            divided by the original number of covered days, or (b) the miles of remaining coverage under the Service Contract
            divided by the original number of covered miles. A cancellation fee of $75 will be charged for all pro rata
            cancellations made by the Contract Holder. In all instances, if there is no Finance Company, the refundable amount
            will be will be paid to You, if there is a Finance Company, the refundable amount will be paid to the Finance
            Company.
    K.      TRANSFER OF VEHICLE OWNERSHIP
            If You sell Your Vehicle or if there is any change in the ownership of Your Vehicle, You may request to transfer
            the remaining coverage of this Contract to the new owner. This request must be submitted within fifteen (15) days
            of the change in Vehicle ownership. You must notify the Administrator of the transfer of ownership in writing and
            must include the following: a transfer fee of $50, the name and address of the new owner, and the mileage of the
            Vehicle at the time of transfer. The Administrator has the discretion to approve or reject your request to transfer
            coverage. Copies of all maintenance records showing oil changes and manufacturer’s required maintenance must
            be given to the new owner. The new owner must retain these records and the Vehicle will still be subject to the
            maintenance requirements as specified in this Contract and by the Vehicle manufacturer. No handwritten receipts
            will be accepted.
            This Contract may not be transferred more than once, may not be assigned to another vehicle, and may not be
            transferred to a new or used vehicle dealer or anyone other than an individual purchasing Your Vehicle for
            personal use. If You sell Your Vehicle, or if there is any change in the ownership of Your Vehicle without notifying
            the Administrator as outlined in this section, this Contract will terminate.




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